               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                   CIVIL CASE NO. 3:19-cv-00167-MR


RAE PHILLIPS,                    )
                                 )
                     Plaintiff,  )
                                 )
              vs.                )                    ORDER
                                 )
ANDREW SAUL, Commissioner of     )
Social Security,                 )
                                 )
                 Defendant.      )
________________________________ )

       THIS MATTER is before the Court on the Plaintiff’s Motion for

Summary Judgment [Doc. 11]; the Defendant’s Motion for Summary

Judgment      [Doc.   14];   the   Magistrate   Judge’s   Memorandum      and

Recommendation regarding the disposition of those motions [Doc. 19]; and

the Defendant’s Objections to the Memorandum and Recommendation [Doc.

20].

       Pursuant to 28 U.S.C. § 636(b) and a specific Order of referral of the

District Court, the Honorable W. Carlton Metcalf, United States Magistrate

Judge, was designated to consider these pending motions in the above-

captioned action and to submit to this Court a recommendation for the

disposition of these motions.



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      On April 28, 2020, the Magistrate Judge entered a Memorandum and

Recommendation [Doc. 19] in this case containing proposed findings of fact

and conclusions of law in support of a recommendation regarding the

disposition of these motions [Docs. 11, 14]. The parties were advised that

any    objections   to   the   Magistrate    Judge's      Memorandum     and

Recommendation were to be filed in writing within fourteen (14) days of

service. The Defendant timely filed Objections on May 12, 2020. [Doc. 20].

The Plaintiff filed a reply on May 26, 2020. [Doc. 21].

      After careful consideration of the Magistrate Judge’s Memorandum

and Recommendation [Doc. 19] and the Defendant’s Objections thereto

[Doc. 20], the Court finds that the Magistrate Judge’s proposed findings of

fact are correct and that his proposed conclusions of law are consistent with

current case law. Accordingly, the Court hereby overrules the Defendant’s

Objections and accepts the Magistrate Judge’s recommendation that the

Commissioner’s decision should be reversed and that this case should be

remanded.

      IT IS, THEREFORE, ORDERED that the Memorandum and

Recommendation [Doc. 19] is ACCEPTED; the Defendant’s Objections

thereto [Doc. 20] are OVERRULED; the Plaintiff’s Motion for Summary

Judgment [Doc. 11] is GRANTED; and the Defendant’s Motion for Summary
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Judgment [Doc. 14] is DENIED. Pursuant to the power of this Court to enter

a judgment affirming, modifying or reversing the decision of the

Commissioner under Sentence Four of 42 U.S.C. § 405(g), the decision of

the Commissioner is REVERSED and this case is hereby REMANDED for

further administrative proceedings consistent with this opinion.

     A judgment shall be entered simultaneously herewith.

     IT IS SO ORDERED.


                               Signed: June 8, 2020




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